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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
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  PAGTER AND PERRY ISAACSON
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 Attorney for: Creditor Johannes Opperman

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:
   JOHN FRANKLIN KOHL, III and                                             CASE NO.: 8:23-bk-10097-MH
   FE PENAVERDE KOHL,                                                      ADVERSARY NO.:
                                                                           (if applicable)
                                                                           CHAPTER:
                                                           Debtor(s).




                                                          Plaintiff(s),
                                                                                        SUBSTITUTION OF ATTORNEY
                                  vs.
                                                                                                     [LBR 2091-1(b)]




                                                       Defendant(s).

1. The name(s) of the party(ies) making this Substitution of Attorney (specify):
    Johannes Opperman


2. The name, address, telephone number, and email address of the new attorney are (specify):
    Johannes Opperman, Pro Se
    27452 Calle de la Rosa
    San Juan Capistrano, CA 92675


3. New attorney hereby appears in the following matters:                        the bankruptcy case             the adversary proceeding


           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1851 E. First St., Suite 700, Santa Ana, CA 92705

A true and correct copy of the foregoing document entitled: SUBSTITUTION OF ATTORNEY will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 09/27/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  09/27/2023      Misty Perry Isaacson                                               /s/ Misty Perry Isaacson
 Date                      Printed Name                                                      Signature




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                                SERVICE LIST
ECF NOTICE

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